           Case 19-64152-sms                      Doc 1              Filed 09/06/19 Entered 09/06/19 12:53:08                         Desc P
                                                                            Page 1 of 54

   Fill in this information to identify your case:

   United States Bankruptcy Court for the:
   Northern District of Georgia
                                                                                         209S       -6            52
   Case number (If known):                                          Chapter you are filing under:
                                                                    14 Chapter 7


           19 - 64 15 Z
                                                                    O Chapter 11     ;4'
                                                                    • Chapter 12
                                                                    O Chapter 13                                             Li Check if this is an
                                                                                                                                amended filing



 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                             12/17

 The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
 joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
 the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
 Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
 same person must be Debtor 1 in all of the forms.
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.


 Part 1:       Identify Yourself

                                       About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case
 1. Your full name
      Write the name that is on your   LAPORTCHIA
      government-issued picture
      identification (for example,     First name
      your driver's license or         M.
      passport).                       Middle name
                                       WRIGHT
      Bring your picture
      identification to your meeting   Last name
      with the trustee.
                                       Suffix (Sr., Jr., II, Ill)

                                                                           •


 2. All other names you
    have used in the last 8            First name                                                        First name
    years
      Include your married or          Middle name                                                       Middle name
      maiden names.
                                       Last name                                                         Last name


                                       First name                                                        First name

                                       Middle name                                                       Middle name

                                       Last name                                                         Last name



)wwwwor



 3. Only the last 4 digits of
    your Social Security
                                       XXX       — xx                          5
    number or federal                  OR
    Individual Taxpayer
    Identification number              9 xx - xx -
      (ITIN)

 Official Form 101                                   Vqiuntary PetitiOn for Individuals Filing for Bankruptcy                             page 1
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             LAPORTCHIA                          M.           WRIGHT                                 Case number (If known)
Debtor 1
             First Name   Middle Name                 Last Name




                                        About Debtor 1                                                                                 Pottie Only in 'a Joint Case)


4. Any business names
                                              I have not used any business names or EINs.                        I have not used any business names or EINs.
   and Employer
   Identification Numbers
   (EIN) you have used in
   the last 8 years                     Business namp                                                      Business name

    Include trade names and
    doing business as names             Business name                                                      Business name



                                        EIN                                                                EIN


                                        EIN                                                                EIN




5. Where you live                                                                                           If Debtor 2 lives at a different address:



                                        28209 PLANTATION DR NE
                                        Number  Street                                                      Number            Street




                                        ATLANTA                                 GA        30324
                                        City                                    State     ZIP Code          City                                       State    ZIP Code

                                        FULTON
                                        County                                                              County

                                        If your mailing address is different from the one                   If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send               yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                         any notices to this mailing address.



                                        Number            Street                                            Number            Street


                                        P.O. Box                                                            P.O. Box


                                        City                                    State     ZIP Code          City                                       State    ZIP Code




 6. Why you are choosing                Check one:                                                          Check one:
    this district to file for                                                                               U Over the last 180 days before filing this petition,
                                               Over the last 180 days before filing this petition,
    bankruptcy                                                                                                I have lived in this district longer than in any
                                               I have lived in this district longer than in any
                                               other district.                                                other district.

                                        U I have another reason. Explain.                                   U I have another reason. Explain.
                                          (See 28 U.S.C. § 14081                                              (See 28 U.S.C. § 1408.)




   Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                           page 2
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 Debtor 1     LAPORTCHIA                       M.              WRIGHT                            Case number (if known)
              First Name   Middle Name              Lest Name




 Part 2:     Tell the Court About Your Bankruptcy Case


1 7. The chapter of the                  Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you                 for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
                                         O Chapter 7
     under
                                         O Chapter 11

                                         O Chapter 12

                                         0 Chapter 13

 8. How you will pay the fee             0 I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                            local court for more details about how you may pay. Typically, if you are paying the fee
                                            yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                            submitting your payment on your behalf, your attorney may pay with a credit card or check
                                            with a Rre-printed address.

                                         O I need to pay the fee in installments. If you choose this option, sign and attach the
                                           Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                         gi I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                            By law, judge may, but is not required to, waive your fee, and may do so only if your income is
                                            less than 150% of the official poverty line that applies to your family size and you are unable to
                                            pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                            Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



 s. Have you filed for                   0 No
    bankruptcy within the
    last 8 years?                        0 Yes.     District                             When                        Case number
                                                                                                MM/ DD / YYYY
                                                    District                             When                        Case number
                                                                                                MM / DD / YYYY
                                                    District                             When                        Case number
                                                                                                MM/ DD / YYYY



 io. Are any bankruptcy                  O No
     cases pending or being
     filed by a spouse who 11            0 Yes.     Debtor                                                            Relationship to you
     not filing this case with                                       4,
                                                    Dipict                               When                         Case number, if known
     you, or by a business                                                                      MM/DD / YYYY
     partner, or by an
     affiliate?
                                                    Debtor                                                            Relationship to you
                                                    District                             When                         Case number, if known
                                                                                                MM / DD / YYYY


 11. Do you rent your                    0 No. Go to line 12.
     residence?                          0 Yes. Has your landlord obtained an eviction judgment against you?

                                                     O No. Go to line 12.
                                                     O Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                       part of this bankruptcy petition.




   Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1      LAPORTCHIA                              M.           WRIGHT                               Case number (if known)
              First Name        Middle Name            Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                    No. Go to Part 4.
    of any full- or part-time
    business?                                 U Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                                      Name of business, Any
    individual, and is not a                            •
    separate legal entity such as
    a corporation, partnership, or
    LLC.                                              Number        Street

    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.
                                                       City                                                      State           ZIP Code


                                                      Check the appropriate box to describe your business:

                                                      U Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                      U Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                      U Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      U Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                      U None of the above


13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    are you a small business
    debtor?
                                                 No. I am not filing under Chapter 11.
    For a definition of small
    business debtor, see                      U No. I am filing under C.bapter 11, but I am NOT a small business debtor according to the definition in
    11 U.S.C. § 101(51D).                           theBankruptcy Code.

                                              U Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                     Bankruptcy Code.


Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention


14. Do you own or have any                       No
    property that poses or is
    alleged to pose a threat                  U Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                        If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?
                                                                                 Number        Street




                                                                             •
                                                                                 City                                                State   ZIP Code


  Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1      LAPORTCHlk                           M.            WRIGHT                                 Case number (if known)
              First Name     Middle Name             Last Name          •




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling


                                           About Debtor                                                        About Debtor ,2 (Spouse
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                 You must check one:
    counseling.
                                           a I received a briefing from an approved credit                         I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                       counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                           certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you
    cannot do so, you are not
                                           U I received a briefing from an approved credit                     O I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court             Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you                you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
    will lose whatever filing fee             plan, if any.                                                        plan, if any.
    you paid, and your creditors
    can begin collection activities           I certify that I asked for credit counseling                     O I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit 5b30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.

                                              To ask for a 30-day temporary waiver of the                           To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                       requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                     what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                     you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                            bankruptcy, and what exigent circumstances
                                              required you to file this case.                                       required you to file this case.

                                              Your case may be dismissed if the court is                            Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                    dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                             briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                 If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.               still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                         You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                     agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                     developed, if any. If you do not do so, your case
                                              may be dismissed.                                                     may be dismissed.
                                              Any extension of the 30-day deadline is granted                       Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                      only for cause and is limited to a maximum of 15
                                              days.                                                                 days.
                                                                                   •
                                           LI I am not required to receive a briefing about                     O I am not required to receive a briefing about
                                              credit counseling because of:                                       credit counseling because of:

                                              O Incapacity.        I have a mental illness or a mental              O Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                            deficiency that makes me
                                                                   incapable of realizing or making                                    incapable of realizing or making
                                                                   rational decisions about finances.                                  rational decisions about finances.
                                               •   Disability.     My physical disability causes me                 •   Disability.    My physical disability causes me
                                                       •           to be unable to participate in a                                    to be unable to participate in a
                                                                   briefing in person, by phone, or                                    briefing in person, by phone, or
                                                                   through the internet, even after I                                  through the Internet, even after I
                                                                   reasonably tried to do so.                                          reasonably tried to do so.
                                               LI Active duty. I am currently on active military                    U Active duty. I am currently on active military
                                                               duty in a military combat zone.                                     duty in a military combat zone.

                                              If you berieve you are not required to receive a                      If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                     briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.                motion for waiver of credit counseling with the court.




  Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                        page 5
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Debtor 1      LAPORTCHIA                       M.            WRIGHT                               Case number (if known)
             First Name   Middle Name            Last Name




 Part 6:    Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                    as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                            O No. Go to line 16b.
                                            l23 Yes. Go to line 17.
                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                            U No. Go to line 16c.
                                            • Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                          U No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after VI Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                           No
    administrative expenses
    are paid that funds will be        U Yes
    available for distribution
    to unsecured creditors?

 18.How many creditors do                 1-49                                U 1,000-5,000                                U 25,001-50,000
    you estimate that you               U 50-99                               0 5,001-10,000                               U 50,001-100,000
    owe?                                U 100-199                             0 10,001-25,000                              0 More than 100,000
                                        0 200-999

' 19. How much do you                      $0-$50,000                         .0 $1,000,001-$10 million                      $500,000,001-$1 billion
      estimate your assets to              $50,001-$100,000                      $10,000,001450 million                      $1,000,000,001-$10 billion
      be worth?                            $100,001-$500,000                     $50,000,001-$100 million                  0 $10,000,000,001450 billion
                                           $500,001-$1 million                   $100,000,001-$500 million                   More than $50 billion

 20. How much do you                       $0-$50,000                             $1,000,001-$10 million                     $500,000,001-$1 billion
     estimate your liabilities             $50,001-$100,000                       $10,000,001-$50 million                  U $1,000,000,001410 billion
     to be?                                $100,001-$500,000                      $50,000,001-$100 million                 0 $10,000,000,001-$50 billion
                                                                       •
                                           $500,00*-$1 million                    $100,000,001-$500 million                U More than $50 billion
 Part 7:    Sign Below

                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
 For you                                correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                        I understand     aking a alse statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankr     cy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U. C. §        2, 134           d3571.


                                                        , 1414
                                            s , atur         Debt. 1                                        Signature of Debtor 2

                                            Executed on                    C72 t)) 61                       Executed on
                                                             MM / DD / YYYY                                                MM / DD    / YYYY


   Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                     page 6
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 Debtor 1     LAPORTCHIA                      M.               WRIGHT                        Case number (if known)
              First Name   Middle Name             Last Name




  For you if you are filing this         The law allows you, as an individual, to represent yourself in bankruptcy court, but you
; bankruptcy without an                  should understand that many people find it extremely difficult to represent
  attorney                               themselves successfully. Because bankruptcy has long-term financial and legal
                                         consequences, you are strongly urged to hire a qualified attorney.
I If you are represented by
I an attorney, you do not                To be successful, you must correctly file and handle your bankruptcy case. The rules are very
I need to file this page.                technical, and a mistake or inaction may affect your rights. For example, your case may be
                                         dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                         hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                         firm if your case is selected for audit. If that happens, you could lose your right to file another
                                         case, or you may lose protecticins, including the benefit of the automatic stay.

                                         You must list all your property and debts in the schedules that you are required to file with the
                                         court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                         in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                         property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                         also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                         case, such as destroyipg or hiding property, falsifying records, or lying. Individual bankruptcy
                                         cases awe randomly audited to determine if debtors have been accurate, truthful, and complete.
                                         Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                         If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                         hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                         successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                         Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                         be familiar with any state exemption laws that apply.

                                         Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                         consequences?
                                         •        No
                                         O Yes

                                         Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                         inaccurate or incomplete, you could be fined or imprisoned?
                                         •        No
                                         O Yes

                                         Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                         O No
                                         U Yes. Name of Person
                                                Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).


                                                               •
                                         By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                         have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                         attorney    y cau e me to lose my rights or property if I do not properly handle the case.




                                             Si    ture of Debt. I                                      Signature of Debtor 2

                                                               Pf
                                         Date                                                           Date
                                                               MM/DD    / YYYY                                           MM/ DD / YYYY

                                         Contact phone                                                  Contact phone


                                         Cell phone                                                     Cell phone

                                         Email address                                                  Email address




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    Fill in this information to identify your case:


    Debtor 1          LAPORTCHIA                     M.               WRIGHT
                         First Name              Middle Name               Lest Name

    Debtor 2
    (Spouse, if filing) First Name               Middle Name •             Last Name


    United States Bankruptcy Court for the: Northern District of Georgia

    Case number
    (if known)                                                                                                                        U Check if this is an
                                                                                                                                         amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                  04/19

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


                    Give Details About Your Marital Status and Where You Lived Before


    .1. What is your current marital status?
1
         0 Married
              Not married


; 2. During the last 3 years, have you lived anywhere other than where you live now?

         af No
         0 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
                                                                     ates Debtor                                                             etas Debt°
                                                                     wed there                                                             lived there

                                                                                       0 Same as Debtor 1                                 0 Same as Debtor 1
                                                                   From                                                                      From
                  Number              Street                                              Number Street
                                                                   To                                                                        To




                  City                         State ZIP Code                             City                     State ZIP Code

                                                                                       0 Same as Debtor 1                                    Same as Debtor 1


                                                                    From                                                                     From
                  Number              Street                                              Number Street
                                                                    To                                                                        To




                  City                         State ZIP Code                             City                     State   ZIP Code


     3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
         states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          0    No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




     Part 2: Explain the Sources of Your Income

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 1
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Debtor 'I        LAPORTCHIA                       M.                         WRIGHT                             Case number Of known)
                 First Name      Middle Name             Last Name




  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

      A     No
      0     Yes. Fill in the details.


                                                                             •
                                                                  Sources of Income                 ;s Income              plumes of Income             toss Income
                                                                  qbeckStfithSt                 (before deduction:        Check all that apply        (before deductions and
                                                                                                                                                      exclusions)

             From January 1 of current year until
                                                                  O Wages, commissions,                                    0   Wages, commissions,
                                                                    bonuses, tips                                              bonuses, tips
             the date you filed for bankruptcy:
                                                                  O Operating a business                                   O   Operating a business


                                                                  O Wages, commissions,                                    O   Wages, commissions,
             For last calendar you:                                                                                            bonuses, tips
                                                                    bonusesektips
             (January 1 to December 31,2018                   1      0   Operating a business                              O Operating a business
                                               YYYY


             For the calendar year before that:
                                                                  0      Wages, commissions,                               O Wages, commissions,
                                                                         bonuses, tips                                       bonuses, tips
             (January 1 to December 31,2017                   )   0      Operating a business                              O   Operating a business
                                               YYYY



, 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

       List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       1:1 No
      U.     Yes. Fill in the details.



                                                                  Sources  of loco              Gross                                                   rags income from
                                                                     „                                                                                each laurce
                                                                  0006rIbe below.               each so
                                                                                                (before deduction                                       'ettf,it'ti'.ifpiluctions
                                                                                                                                                                    .             and
                                                                                                exclus'ons),                                          sotchiSions)::•                   .



              From January 1 of clrrent year until
                                                                  SS                                        8397.77
              the date you filed for bankruptcy:                  VA BENEFITS                             30648.60



                                                                  SS                                     11,196.00
              For last calendar year:
                                                          )       VA BENEFITS                            40,864.80
              (January 1 to December 31,2018
                                                " re              PENSION                       $        25,260.00


               For the calendar year before that:                 SS                                      11,196.00
               (January 1 to December 31,2017             )       VA BENEFITS                   $        40,864.80
                                                YYYY
                                                                  PENSION                       $        25,260.00




 Official Form 107                                    Statement of Financial Affairslor Individuals Filing for Bankruptcy                                              page 2
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Debtor 1    LAPORTCHIA                           M.                      WRIGHT                     Case number (if known)
             First Name        Middle Name              Last Name




 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     O No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
           "incurred by an individual primarily for a personal, family, or household purpose."
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

              O No. Go to line 7.

              O Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                     total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                     child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     O Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              El No. Go to line 7.

              O Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                     creditor. Do not include payments for domestic support obligations, such as child support and
                     alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                                                                                     6-1bitpayment for...



                                                                                                                                   0 Mortgage
                     Creditor's Name
                                                                                                                                   0 Car
                     Number    Street
                                                                                                                                   0 Credit card
                                                                                                                                      Loan repayment
                                                                                                                                   0 Suppliers or vendors
                     City                    State           ZIP Code
                                                                                                                                   0 Other


                                                                                                                                   D Mortgage
                     Creditor's Name
                                                                                                                                   LI Car
                                                                                                                                      Credit card
                     Number     Street
                                                                                                                                   0 Loan repayment
                                                                                                                                   CI Suppliers or vendors
                                                             ZIP Code
                                                                                                                                   0 Other
                     City                    State




                                                                                                                                   0 Mortgage
                      Creditor's Name
                                                                                                                                   0 Car
                      Number    Street
                                                                                                                                   CI Credit card
                                                                                                                                   LI Loan repayment
                                                                                                                                   0 Suppliers or vendors
                                                                                                                                   0 Other
                      City                   State          , ZIP Code




 Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                     page 3
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Debtor 1        LAPORTCHIA                           M.                WRIGHT                        Case number (if known)
                   First Name       Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

           No
     0     Yes. List all payments to an insider.
                                                                          ates of     Total amount      Amount you stilt Reason for this paymen
                                                                          ayment       014 s.','        owe



            Insider's Name



            Number        Street




            City                                  State    ZIP Code




            Insider's Name


            Number        Street




             City                                 State    ZIP Code



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

      21 No
     0 Yes. List all payments that benefited an insider.
                                                                                                          mount you still     Reaeon; firffil/p0,#yrnen!
                                                                                                          we
                                                                                                                              Include creditors name


             1nm:ter's Name



             Number        Street




             City                                 State    ZIP Code




             Insider's Name



             Number        Street




             City                                 State    ZIP Code




 Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4
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Debtor 1          LAPORTCHIA                           M.                 WRIGHT                                 Case number (if Seems)
                    First Narne        Middle Name           Last Name




w          ii      Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.                                       •

     g     No
     U Yes. Fill in the details.
                                                                                                                                                         tue:of the ealle


                                                                                                                                                       O Pending
                Case title                                                                                Court Name
                                                                                                                                                       O On appeal

                                                                                                          Number     Street                            O Concluded

                Case number
                                                                                                          City                     State   ZIP Code




                                                                                                                                                       O Pending
                Case title                                                                                Court Name
                                                                                                                                                       O On appeal

                                                                                                          Number      Street                           O Concluded

                Case number
                                                                                                          City                     State   ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

      El No. Go to line
                                                                                •
      0 Yes. Fill in the information below.
                                                                                . _
                                                                              , Dearaibivt                                                                of the property
                                                                          '




                      Creditors Name



                      Number      Street


                                                                                      Property was repossessed.
                                                                                      Property was foreclosed.
                                                                                      Property was garnished.
                      City                           State    ZIP Code                Property was attached, seized, or levied.




                       Creditor's Name



                       Number     Street



                                                                               O      Property was repossessed.
                                                                               U      Property was foreclosed.
                                                                               O      Property was garnished.
                                                     State    ZIP Code
                                                                               U      Property was attached, seized, or levied.




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Debtor 'I          LAPORTCHIA                         M.                   WRIGHT                        Case number ir known)
                   First Name     Middle Name               Last Name




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
      El No
      O Yes. Fill in the details.

                                                                    DescrIbthea09-nikki*Odftiii.

            Creditors Name



            Number      Street




            City                            State   ZIP Code        Last 4 digits of account number: XXXX-


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?
                                                                              •
      M     No
      O Yes

                   List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
      •     No
      O Yes. Fill in the details for each gift.




            Number      Street



                                            State   ZIP Code


            Person's relationship to you

                                        ,
            ,Gifts with a toil,value of more t             06
             per person                                                                                                          gift



            Person to Whom You Gave the Gift




            Number      Street



            City                            State   ZIP Code


            Person's relationship to you


Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                   page 6
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Debtor 1           LAPORTCHIA                         M.                       WRIGHT                               Case number (If known)
                      First Name      Middle Name          Last Name




    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

        M No
        U Yes. Fill in the details for each gift or contribution.

                                                                            b*iiv66t you contributed                                          Date yol'
                                                                                                                                               01.0.6



            Charity's Name




            Number         Street




            City             State      ZIP Code




                      List Certain Losses
i      n
     15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
1       disaster, or gambling?

        g No
        U Yes. Fill in the details.

               Describe the property ttfeef an                         elecribotneh anY ii,:: 0ra   c Pcnieta
                                                                                                                    os                          ate 014o              of property
                                                                                                                °
               how the loss occurred
                                                                   Ir)01P            : °uht at ek,i
                                                                                     °
                                                                                            t      tireince has 10,:lusstp9,cling insure
                                                                   da ms         1,ino a 0f hn?h dule A/B:- PrcTo p:r4,




     Part 7:       List Certain Payments or Transfers

     23.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
        you consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

        U No
        GI Yes. Fill in the details.

                                                                       'escription       d value of any pro city transferred                  Date payment or    Amount of PaYme
             moneysharp.org                                                                                                                   transfer
               Person Who Was Paid
                                                                 !Counseling

               Number        Street                                                                                                          1 09/19                        10.00




               City                         State   ZIP Code



               Email or website address


               Person Who Made the Paym int. if Not You



    Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 7
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Debtor 1        LAPORTCHIA                          M.                   WRIGHT                    Case number (If known)
                   First Name       AM, Name                Lest Name




           Person Who Was Paid



            Number        Street




            City                       State     ZIP Code




            Email or website address



            Person Who Made the Payment, if Not You



  17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

           No
     0     Yes. Fill in the details.

                                                                                                                                           of payment


            Person Who Was Paid



            Number         Street




            City                        State    ZIP Code

  18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
      g    No
      0    Yes. Fill in the details.
                                                                                                     escrIbeanYpro                     Date transfer
                                                                                                       abts paid in                     as mods

            Person Who Received Transfer



            Number        Street




            City                        'State   ZIP Code


            Person's relationship to you


            Person Who Received Transfer



             Number        Street




             City                       State    ZIP Code

            Person's relationship to you

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Debtor 1      LAPORTCHIA                          M.                        WRIGHT                         Case number (If known)
                First Name        Middle Name          Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     O No
     O Yes. Fill in the details.

                                                                                                                                                               ate transfer
                                                                                                                                                             A4lioi made
                                                                                                                                                                      . .     •.


           Name of trust




  Part 8: List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

     Eli No
     O Yes. Fill in the details.

                                                                            dlgititiotaidandhtitiumb                                Date account was       Last balance before
                                                                                                                                    closed, sold, moved,   closing or transfer
                                                                                        '                                           or transferred


            Name of Financial institution
                                                                                                       0 Checking

            Number     Street
                                                                                                       CI Savings
                                                                                                       El Money market

                                                                                                       0 Brokerage
            City                       State    ZIP Code
                                                                                                       0 Other


                                                                   XXXX—                               El Checking
             Name of Financial Institution
                                                                                                       0 Savings

             Number    Street                                                                          U   Money market

                                                                                                       O Brokerage
                                                                                                       0 Other
             City                       State   ZIP Code


  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
      •    No
      O Yes. Fill in the details.
                                                                                                                                                                  Do you still
                                                                                                                                                                  have it?

                                                                                                                                                                   U No
             Name of Financial Institution
                                                                                                                                                                 I CI Yes


             Number     Street                                     Number     Street



                                                                   City         State       ZIP Code

             City                       State   ZIP Code



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Debtor 1      LAPORTCHIA                          M.                      WRIGHT •                                   Case number (ff known)
                  Find Name      Middle Name              Last Name




22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
   121 No
   U Yes. Fill in the details.
                                                                                                                                                                 Do you still
                                                                                                                                                                 have it?

                                                                                                                                                               ; U No
           Name of Storage Facility                              Name                                                                                              Yes

           Number       Street                                   Number    Street



                                                                  CityState ZIP Code


           city                       State        Cocle



 Part 9:            Identify Property You Hold or Control for Someone Else

 23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.
    g No
    U Yes. Fill in the details.
                                                WherstliCtheipttine                       scribe the propert


            Owner's Name


                                                                Number    Street
            Number      Street




                                                                City                           State      ZIP Code
            City                       State    ZIP Code                      •


  Part 10:          Give Details About Environmental information

  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.
  •   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.
  •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      El No
      U Yes. Fill in the details.
                                                                                                                 vironmental law, if          kn'ait it      Date of notice



           Name of site                                          Governmental unit


           Number      Street                                    Number   Street


                                                                 City                  State   ZIP Code



           City                       State    ZIP Code




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Debtor 1        LAPORTCHIA                          M.                        WRIGHT                               Case number (If known)
                   First Name       Middle Name          Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     El No
     U Yes. Fill in the details.
                                                                       OfflITIAB                                                                                       te of notice



            Name of site                                       Governmental unit


            Number        Street                               Number        Street



                                                               City                     State    ZIP Code


            City                         State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     tia No
     U     Yes. Fill in the details.
                                                                                                                                                                      Statue of the
                                                                                                                                                                      case

           Case title
                                                                                                                                                                      U   Pending
                                                                     Court Name
                                                                                                                                                                      U On appeal
                                                                     Number    Street                                                                                 U   Concluded


           Case number                                               City                       State   ZIP Code



1:   111              Give Details About Your Business or Connections to Any Business

  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           U A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           U A member of a limited liability company (LLC) or limited liability partnership (LLP)
           U     A partner in a partnership
           U An officer, director, or managing executive of a corporation

           U An owner of at least 5% of the voting or equity securities•of a corporation

           No. None of the above applies. Go to Part 12.
      U Yes. Check all that apply above and fill in the details below for each business.
                                                                        scribe the nature Of the heti                                             'uditcation number
                                                                                                                                             nOtKie $"   141 SuelOY number or ITIN.
             Business Name

                                                                                                                                    EIN:
               Number      Street
                                                                     Name of acc                 'bookkeeP '                                tousineeeeelsted,


                                                                                                                                    From                 To
                                          State   ZIP Code

                                                                                                                                      MOO     Identification number
                                                                                                                                      or* .include Social Security number or MN,
               Business Name

                                                                                                                                    EIN:
               Number      Street
                                                                                   ceountant or bookkeeper


                                                                                                                                    From                  To
               City                       State   ZIP Code


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Debtor 1          LAPORTCHIA                        M.                      WRIGHT                            Case number (If known)
                   First Name       Middle Name          Last Name



                                                                                                                                mployerbkodffcation number
                                                                                                                                o not include Social Security number or ITIN.'

                Business Name



                Number    Street




                                                                                                                               From                To
                City                     State    ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

     CI No
               Yes. Fill in the details below.

                                                                         'Issue



                Name                                                 MM / DD / YYYY



                Number     Street




                City                      State   ZIP Code




  Part 12:             Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C.     52, 1341, 1519, and 3571.




                          e of                                                        Signature of Debtor 2


                Date       /67 /                                                      Date

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           21 No
                  Yes


       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
                 No
           0     Yes. Name of person                                                                                  . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                        Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:


Debtor 1          LAPORTCHIA                             M.                      WRIGHT
                     First Name                  Middle Name                        Last Name

Debtor 2
(Spouse, If filing) First Name                   Middle Name                        Last Name


United States Bankruptcy Court for the:                        District of

Case number
                                                                                                                                                           Check if this is an
                                                                                                                                                           amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think It fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    El No. Go to Part 2.
    0 Yes. Where is the property?
                                                                             What is the property? Check all that apply.       •OO'.ni)t: deduct secured claims traiernptIgns. Put
                                                                             D     Single-family home                           the amount of any'secunict.blalros,on,$Ohedule
                                                                                                                                Creditors Who Have 0 3,0i *Ottby Property.
                                                                             O     Duplex or multi-unit building
              Street address, if available, or other description
                                                                             •    Condominium or cooperative                   Current value of the        Current value of the
                                                                             O Manufactured or mobile home                     entire property?            portion you own?
                                                                             O     Land
                                                                             O     Investment property

              City                            State      ZIP Code
                                                                             D     Timeshare                                   Describe the nature of your ownership
                                                                                                                               interest (such as fee simple, tenancy by
                                                                             •     Other
                                                                                                                               the entireties, or a life estate), if known.
                                                                             Who has an interest in the property? Check one.
                                                                             0 Debtor 1 only
              County                                                              Debtor 2 only
                                                                             U Debtor 1 and Debtor 2 only                      CI Check if this is community property
                                                                                                                                   (see instructions)
                                                                                  At least one of the debtors and another
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
    If you own or have more than one, list here:
                                                                        What is the property? Check all that apply.                Acifdiiiiiliet'tecurOf:Otainis.orexemptions. Put
                                                                        U Single-family home                                     iiiiiMountof atiiiiairid4latnikoni:ViOtitiO        -1
      1.2.                                                                                                                       redilors Who Have Claims Secured by Property.
                                                                        U Duplex or multi-unit building
              Street address, if available, or other description
                                                                        •         Condominium or cooperative                   Current value of the        Current value of the
                                                                        •         Manufactured or mobile home                  entire property?            portion you own?
                                                                        •         Land
                                                                         •        Investment property
                                                                                                                               Describe the nature of your ownership
                                                                         •        TimRshare
              City                            State      ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                        U         Other                                        the entireties, or a life estate), if known.
                                                                        Who has an interest in the property? Check one.
                                                                        0 Debtor 1 only
              County                                                    D Debtor 2 only
                                                                        D Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                        D At least one of the debtors and another                  (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:


 Official Form 106A/B                                                        Schedule A/B: Property                                                                 page 1
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Debtor 1      LAPORTCHIA                              M.                  WRIGHT                          Case number (if known)
                  First Name     Middle Name            Last Name




                                                                    What is the property? Check all that apply.              11,0.,00t.t.4.0.1;1.4000P.rec.1,0101r,pelOr exemptphs.- Put
                                                                    O Single-family home
    1.3.
           Street address, if available, or other description       0     Duplex or multi-unit building
                                                                    •     Condominium or cooperative                          Current value of the             Current value of the
                                                                                                                              entire property?                 portion you own?
                                                                    •     Manufactured or mobile home
                                                                    O Land
                                                                    D     Investment property
           City                            State      ZIP Code      0     Timeshare                                           Describe the nature of your ownership
                                                                                                                              interest (such as fee simple, tenancy by
                                                                    O Other                                                   the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    0 Debtor 1 only
           County
                                                                    CI Debtor 2 only
                                                                    CI Debtor 1 and Debtor 2 only                             0    Check if this is community property
                                                                                                                                   (see instructions)
                                                                    0 At least one of the debtors and another
                                                                    Other Information you wish to add about this item, such as local
                                                                    property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
   you have attached for Part 1. Write that number here.




Fin          Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   U No
       Yes


    3.1.   Make:                        as)(                        Who has an interest in the property? Check on                1)o not•deduct secured lmithêketiptlOns. Put.
                                                                                                                            .,.:.1110,:arect.i.ht:9t**:*cyrettotolos.n::$0hoouteJp:
           Model:                       CADILAC                     0 Debtor 1 only                                              Credlts Who Havo Claims secured by Property
           Year:                        24+4       aot 3            0 Debtor 2 only
                                                                    CI Debtor 1 and Debtor 2 only                             Current value of the             Current value of the
                                                                                                                              entire property?                 portion you own? I
           Approximate mileage:                                     0 At least one of the debtors and another
           Other information:
                                                                                                                                           11000.00            $
                                                                          Check if this is community property (see
                                                                          instructions)



   If you own or have more than one, describe here:

           Make:                                                    Who has an interest in the property? Check one.           Do not deduct secLtred claIms or exemptions Put
    3.2.
                                                                    0 Debtor 1 only                                          .'11.*00i.ciffigOt.1$(0.411'..00,--,010101k on ;$0.1000.1.00 .::-.1
           Model:                                                                                                             Creditors Who Have Claims Secured by Property
                                                                    0 Debtor 2 only
           Year:                                                                                                              Current value of the              Current value of the
                                                                    0 Debtor 1 and Debtor 2 only                              entire property?                  portion you own?
           Approximate mileage:                                     0 At least one of the debtors and another
           Other information:
                                                                        0 Check if this is community property (see
                                                                          instructions)




 Official Form 106A/B                                                   Schedule A/B: Property                                                                            page 2
            Case 19-64152-sms                  Doc 1            Filed 09/06/19 Entered 09/06/19 12:53:08                                       Desc P
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Debtor 1        LAPORTCHIA                     M.                WRIGHT                            Case number (if knows)
                First Name       Middle Name      Last Name




           Make:                                              Who has an interest in the property? Check one.            .,,.nOt adduct Sepurecl claims orexemptiOns. Put
   3.3.
                                                                                                                       the amount of aily.:SeOured,9laims on Schedule.0.•
                                                              0 Debtor 1 only                                        . Creditors Who HaveCtrrsaoiredbyP'mpe,ty,
           Model:
                                                              CI Debtor 2 only
           Year:                                                                                                       Current value of the       Current value of the .
                                                              0 Debtor 1 and Debtor 2 only
                                                                                                                       entire property?           portion you own?
           Approximate mileage:                               0 At least one of the debtors and another
           Other information:
                                                              0 Check if this is community property (see
                                                                instructions)
           L_


           Make:                                              Who has an interest in the property? Check one.             not'deduct'setured‘Oloiros,pr exemptions, Put
   3.4.
                                                                                                                         O'at,rOurifq any secured claims on Schedule D: 1
                                                              0 Debtor 1 only                                           tedltore!Whdflave Cleirps Secured by Property !
           Model:
                                                              0 Debtor 2 only
           Year:                                                                                                       Current value of the       Current value of the
                                                              0 Debtor 1 and Debtor 2 only
                                                                                                                       entire property?           portion you own? i
           Approximate mileage:                               0 At least one of the debtors and another
           Other information:
                                                              U Check if this is community property (see
                                                                instructions) '




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing,vessels, snowmobiles, motorcycle accessories
   IA No
   0      Yes


            Make:                                             Who has an interest in the property? Check one.          DoinekdadtiCt secured claims or eXeMpttons..Put
   4.1.
                                                                                                                       thisi 04°04Uf:InyiseciOrt.OtiifpkOry:$00edule
                                                              CI Debtor 1 only
            Model:                                                                                                     Chi.004.Wha! el1ii:bfiliitk$061'lrObteroPettS .
                                                              0 Debtor 2 only
            Year:
                                                              0 Debtor 1 and Debtor 2 only                             Current value of the       Current value of the
            Other information:                                0 At least one of the debtors and another                entire property?           portion you own?


                                                              O Check if this is community property (see
                                                                instructions)



   If you own or have more than one, list here:
                                                                                                                                            ,
            Make:                                             Who has an interest in the property? Check one. EtWf#idedciit4,01)fii:401011.titc'orexOpptidi*PUt-]..".
    4.2.
                                                              0 Debtor 1 only -                                 the amount of any secured claims on Schedule D
            Model:                                                                                              CredotaWKeveQIips Secured by Property
                                                              1:1 Debtor 2 only
            Year:                                                                                               Current value of the Current value of the
                                                              0 Debtor 1 and Debtor 2 only
                                                                                                                entire property?          portion you own?
            Other information:                                0 At least one of the debtors and another


                                                              0 Check if this is community property (see
                                                                instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                 0.00
   you have attached for Part 2. Write that number here                                                                                    4




 Official Form 106A/B                                          Schedule A/B: Property                                                                      page 3
            Case 19-64152-sms                   Doc 1         Filed 09/06/19 Entered 09/06/19 12:53:08                             Desc P
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 Debtor 1      LAPORTCHIA                                      WRIGHT                            Case number (if known)
               First Name    Middle Name         Last Name




            Describe Your Personal and Household Hems

          „                                                                                                                     ent value of the
        u own or                    ',eAuitablii:inteti in any,                                                                 196 'Yon OWn?
            '
                                                                                                                               not deduct secureo tialrns
                                                                                                                               xeni ti s
 6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    0 No
    O Yes. Describe         !1 LIVING ROOM, 1 DINING ROOM, 2 BEDS, TABLES, DISHES, LINEN, CHAIRS                                               2000.00


 7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
              collections; electronic devices including cell phones, cameras, media players, games
    O No
    621 Yes. Describe         1 Cal_ PHONE, 2 TV'C, 1 LAPTOP, 1 PRINTER                                                                        1000.00


 8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    O No
    O Yes. Describe


 9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
              and kayaks; carpentry tools; musical instruments
    10 No
    O Yes. Describe                                                                                                            $

 10.Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    O No
    • Yes. Describe

 11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    D    No
    •    Yes. Describe        CLOTHES                                                                                                            500.00
                                                                                                                               $
                                                                    •

 12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
    U No
                                                                                                                                                 200.00
    O Yes. Describe
                             IJEWELRY
i 13. Non-farm animals
    Examples: Dogs, cats, birds, horses

    O No
    U Yes. Describe


 14.Any other personal and household items you did not already list, including any health aids you did not list

     O No
     U Yes. Give specific
       information.

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                 3700.00
     for Part 3. Write that number here                                                                                    4


 • Official Form 106A/B                                      Schedule A/B: Property                                                        page 4
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    Debtor 1      LAPORTCHIA                        M.               WRIGHT                      Case number (if known)
                   First Name   Middle Name           Last Name




                 Describe Your Financial Assets


            ny•ok.Or. avOtn.              gutiStileif tereet        ypt.       follOiN                                                            the
                                                                                                                                       0:10#10*owo7;

    16.Cash                                         •
i      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       O No
       D Yes                                                                                                     Cash:



    17.Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.
       lj   No
       la Yes                                                      Institution name:


                                 17.1. Checking account:           WELLS FARGO                                                                   300.00
                                 17.2. Checking account:

                                 17.3. Savings account:

                                 17.4. Savings account:

                                 17.5. Certificates of deposit:

                                 17.6. Other financial account:

                                 17.7. Other financial account:

                                 17.8. Other financial actcount:

                                 17.9. Other financial account:




    18.Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       la No
       O Yes                     Institution or issuer name:




    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture

       O No                      Name of entity:                                                                  % of ownership:
       CI Yes. Give specific                                                                                      0%
            information about
                                                                                                                  0%
            them
                                                                           a                                      0%




     Official Form 106A/B                                          Schedule A/B: Property                                                      page 5
                Case 19-64152-sms                       Doc 1          Filed 09/06/19 Entered 09/06/19 12:53:08                       Desc P
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    Debtor 1     LAPORTCHIA                           M.               WqIGHT                      Case number (if known)
                  First Name     Middle Name




    20. Government and corporate bonds and other negotiable and non-negotiable instruments
I
       Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       El No
       0 Yes. Give specific      Issuer name:
          information about
          them




    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each
           account separately.   Type of account:          Institution name:

                                 401(k) or similar plan:

                                 Pension plan:

                                 IRA:

                                 Retirement account:

                                  Keogh:

                                  Additional account:

                                  Additional account:



    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
        companies, or others

       L21 No
        0 Yes                                           Institution name or individual:
                                  Electric:

                                  Gas:

                                  Heating oil:

                                  Security deposit on rental unit:

                                  Prepaid rent:

                                  Telephone:

                                  Water:

                                  Rented furniture:

                                  Other:



    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

        El No
        0 Yes                     Issuer name and description:




     Official Form 106A/B                                            Schedule A/B: Property                                               page 6
                Case 19-64152-sms                   Doc 1         Filed 09/06/19 Entered 09/06/19 12:53:08                                    Desc P
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    Debtor 1     LAPORTCHIA                        M.             WRIGHT                            Case number (if known)
                  First Name    Middle Name          Lest Name


                                                    „
I 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       El No
       O Yes                             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
        exercisable for your benefit

       El No
1
       O Yes. Give specific
         information about them....


    26 Patents, copyrights, trademarks, trade secrets, and other intellectual property
      '
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
       O Yes. Give specific
         information about them....


l 27. Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       la No
       O Yes. Give specific
         information about them....
                                                                                                                                              s

                                                                                                                                              Current value of the
                                                                                                                                              Portion You Own?
                                                                                                                                              Do not deduct `secured
                                                                                                                                              claims or exemptions.

    28. Tax refunds owed to you
       la No
       O Yes. Give specific information                                                                               Federal:
              about them, including whether
              you already filed the returns                                                                           State:
              and the tax years.
                                                                                                                      Local:



    29. Family support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ia No
        O Yes. Give specific information
                                                                                                                     Alimony:
                                                                                                                     Maintenance:
                                                                                                                     Support:
                                                                                                                     Divorce settlement:
                                                                                                                     Property settlement:

I 30. Other amounts someone owes you                                       •
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                Social Security benefits; unpaid loans you made to someone else
        la No
        O Yes. Give specific information




     Official Form 106A/B                                        Schedule NB: Property                                                                   page 7
                   Case 19-64152-sms                 Doc 1          Filed 09/06/19 Entered 09/06/19 12:53:08                                           Desc P
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 Debtor 1           LAPORTCHIA                      M.               WRIGHT                               Case number (if known)
                     First Name       Middle Name     Last Name




 31. Interests in insurance policies
     Examples: Health, disability, r life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
              No
    O Yes. Name the insurance company           Company name:                                                Beneficiary:                             Surrender or refund value:
           of each policy and list its value...




 32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
     property because someone has died.
     •        No
     O Yes. Give specific information



 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
     WI No
     O Yes. Describe each claim.
                                                                                                                                                      $

 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to set off claims
     •        No
     •        Yes. Describe each claim




 35. Any financial assets you did not already list

         WI No
     D Yes. Give specific information



 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                           4                             300.00
     for Part 4. Write that number here




                    Describe Any Business-Related Property You Own or Have an Interest In. List any real estate In Part 1.

I 37. Do you own or have any legal or equitable interest in any business-related property?
              No. Go to Part 6.
         O Yes. Go to line 38.
                                                                                                                                                      uA       lue of the
                                                                                                                                                     portion you own?
                                                                                                                                                          not deduct secured claims
                                                                                                                                                       exemptions.
i 38. Accounts receivable or commissions you already earned
                                                                          •
         L3   No
         0     Yes. Describe
                                  I

  39. Office equipment, furnishings, and supplies
      Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

         1:1 No
         O Yes. Describe




   Official Form 106A/B                                            Schedule A/B: Property                                                                            page 8
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  Debtor 1       LAPORTCHIA                        M.            WRIGHT                    Case number Of known)
                   First Name    Middle Name        Last Name




 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

     O No
     •      Yes. Describe



I 41. Inventory
          No
     O Yes. Describe



  42. Interests in partnerships or joint ventures
     1::1 No
     O Yes. Describe             Name of entity:                                                             % of ownership:




  43. Customer lists, mailing lists, or other compilations
      LI No
     O Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                 O No
                 O Yes. Describe



  44. Any business-related property you did not already list
      U No
         O Yes. Give specific
           information




  45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
      for Part 5. Write that number here                                                                                  4


  Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                  If you own or have an interest in farmland, list it in Part 1.


  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
         a No. Go to Part 7.
         O Yes. Go to line 47.
                                                                                                                               Current value of the
                                                                                                                               portion you own?
                                                                                                                               ..1).0,t#004qs.9que0i:piptnis
                                                                                                                               i**0000**Mlinu
; 47. Farm animals
         Examples: Livestock, poultry, farm-raised fish
         Ul No
         O Yes

                                                                                                                                 $



   Official Form 106A/B                                         Schedule A/B: Property                                                       page 9
               Case 19-64152-sms               Doc 1        Filed 09/06/19 Entered 09/06/19 12:53:08                            Desc P
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  Debtor 1      LAPORTCHIA                     M.            WRIGHT                         Case number (if known)
                 First Name   Middle Name       Last Name




 48. Crops—either growing or harvested
      LI No
      U Yes. Give specific
        information.

 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     • No
      LI Yes



 50. Farm and fishing supplies, chemicals, and feed
      1:1 No
      U Yes



 51.Any farm- and commercial fishing-related property you did not already list
      LI No
      LI Yes. Give specific
         information.

 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here




I=1             Describe All Property You Own or Have an Interest in That You Did Not List Above


I 53. Do you have other property of any kind you did not already list?
;     Examples: Season tickets, country club membership

      gl No
      LI Yes. Give specific
         information.




  54. Add the dollar value of all of your entries from Part 7. Write that number here                                      4




1=1             List the Totals of Each Part of this Form

                                                                                                                                         0.00
  55.Part 1: Total real estate, line 2

                                                                                          0.00
  56.Part 2: Total vehicles, line 5

                                                                                     3700.00
  57.Part 3: Total personal and household items, line 15

                                                                                        300.00
  58.Part 4: Total financial assets, line 36

                                                                                          0.00
  59.Part 5: Total business-related property, line 45

                                                                                          0.00
  60.Part 6: Total farm- and fishing-related property, line 52

  61.Part 7: Total other property not listed, line 54                    $                0.00

                                                                                     4000.00                                         4000.00
  62.Total personal property. Add lines 56 through 61.                                           Copy personal property total



                                                                                                                                     4000.00
  63.Total of all property on Schedule A/B. Add line 55 + line 62



   Official Form 106NB                                      Schedule A/B: Property                                                  page 10
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 Fill in this information to identify your case:

 Debtor 1          LAPORTCHIA                         M.                WRIGHT
                    First Name                 Middle Name               Last Name

 Debtor 2
 (Spouse, if (ding) First Name                 Middle Name               Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                            U Check if this is an
  (If known)
                                                                                                                                           amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                        04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2:Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a pattcular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


  Part 1:          Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      0 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 622(b)(3)
      CA You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


• 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on
       Schedule A/B that lists this property
                                                              opy theYplu!,from
                                                             Schedule ity8

                                                                                                                              44-13-100(a)(4)
      Brief                      HOUSEHOLD GOODS             $2000.00                .      $ 2000.00
      description:
       Line from
                                                                                         0 100% of fair market value, up to
                                 6                                                          any applicable statutory limit
       Schedule A/B:

       Brief                                                                                                                  44-13-100(a)(4)
                                 ELECTRONICS                 $ 1000.00                      $ 1000.00
       description:
       Line from
                                                                                         0 100% of fair market value, up to
                                                                                            any applicable statutory limit
       Schedule A/B:

       Brief                                                                                                                  44-13-100(a)(4)
                                 CLOTHES                     $500.00                        $ 500.00
       description:
       Line from
                                                                                         0 100% of fair market value, up to
                                 11                                                         any applicable statutory limit
       Schedule A/B:


  3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

            No
       0    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
               21 No
               0    Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                        page 1 of
           Case 19-64152-sms                   Doc 1            Filed 09/06/19 Entered 09/06/19 12:53:08                              Desc P
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Debtor 1      LAPORTCHIA                        M.                  WRIGHT                       Case number (if /mom)
              First Name        Middle Name     Lest Name




 Part 2:     Additional Page

                                              ine           4ffel#'YOPP                                                                      wisxernption
           chedul'A/B that lists thia'                       4t!PifliPP:IM
                                                            Opy,thaAluelfro,

                                                                                                                         44-13-100(a)(5)
     Brief                 JEWELRY                                      200.00        $        200.00
     description:
     Line from             12                                                    0    100% of fair market value, up to
                                                                                      any applicable statutory limit
     Schedule A/B:
                                                                                                                         44-13-100(a)(6)
     Brief                                                              300.00        $        300.00
                           WELLS FARGO
     description:
     Line from
                                                                                 0 100% of fair market value, up to
                           17                                                         any applicable statutory limit
     Schedule NB:

      Brief
                                                                                      $
      description:
      Line from
                                                                                 U 100% of fair market value, up to
                                                                                      any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                                Us
                                                                                      100% of fair market value, up to
      Line from
                                                                                      any applicable statutory limit
      Schedule A/B:
      Brief
      description:                                                                    $
                                                                                 0 100% of fair market value, up to
      Line from
                                                                                   any applicable statutory limit
      Schedule NB:

      Brief
      description:                                                                    $

      Line from
                                                                                  0 100% of fair market value, up to
                                                                                      any applicable statutory limit
      Schedule NB:

      Brief
      description:                                                                    $

      Line from
                                                                                  0   100% of fair market value, up to
                                                                                      any applicable statutory limit
      Schedule A/B:
      Brief
      description:                                                                Us
      Line from
                                                                                  0   100% of fair market value, up to
                                                                                      any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                                Us
      Line from
                                                                                  0 100% of fair market value, up to
                                                                                      any applicable statutory limit
      Schedule NB:

      Brief
      description:                                                                    $
                                                                                  0 100% of fair market value, up to
      Line from
                                                                                    any applicable statutory limit
      Schedule A/B:
      Brief
      description:                                                                Us
      Line from
                                                                                  0 100% of fair market value, up to
                                                                                      any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                                   Us
                                                                                  0 100% of fair market value, up to
      Line from
                                                                                    any applicable statutory limit
      Schedule A/B:


 Official Form 106C                                     Schedule        The Property You Claim as Exempt                                   page .L. of_
             Case 19-64152-sms                           Doc 1          Filed 09/06/19 Entered 09/06/19 12:53:08                         Desc P
                                                                              Page 32 of 54

Fill in this information to identify your case:


Debtor 1          LAPORTCHIA                                                    WRIGHT
                   First Name                     Middle Name                  Last Name

Debtor 2
(Spouse, if filing) First Name                    Middle Name                  Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
(If known)                                                                                                                                 Check if this is an
                                                                                                                                           amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                             12/15

Be as complete and accurate Js possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case amber (if known).


1. Do any creditors have claims secured by your property?
      CI No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      121 Yes. Fill in all of the information below.

               List All Secured Claims


65.List ali:Seatiatt:Olaintajfa,araditarbaa. titkpionippe',s900,00:001*###*0001tqr-.-pgratioyi
   for each claim. If more than one creditor I   P0.00,010010:ft,',..1.104i*ptoptoclor- *pr,?,attr2
     s much as possible, list the                                                     name.
                                 .   ,
2.1                                                         Describe the property that secures the claim:                  23000.00 $    11000.00 $        0.00
      BRIDGECREST
      Creditor's Name
       PO BOX 29018
      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                            •   Contingent
       PHOENIX                       AZ      85038          •   Unliquidated
      City                           State   ZIP Code       U Disputed
  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
  U     Debtor 1 only                                       •  An agreement you made (such as mortgage or secured
  U Debtor 2 only                                              car loan)
  U Debtor 1 and Debtor 2 only                              O Statutory lien (such as tax lien, mechanic's lien)
  • At least one of the debtors and another                 U. Judgment lien ftom a lawsuit
                                                            O Other (including a right to offset)
  •     Check If this claim relates to a
        community debt
  Date debt was incurred                                    Last 4 digits of account number
2.2                                                         Describe the property that secures the claim:
      Creditor's Name


      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                            O Contingent
                                                            •   Unliquidated
      City                           State   ZIP Code
                                                            U Disputed
  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
  O Debtor 1 only                                           U An agreement you made (such as mortgage or secured
  U Debtor 2 only                                             car loan)
  O Debtor 1 and Debtor 2 only                              O Statutory lien (such as tax lien, mechanic's lien)
  U At least one of the debtors and another                 O Judgment lien from a lawsuit
                                                            U Other (including a right to offset)
  U Check if this claim relates to a
    community debt
  Date debt was Incurred                                    Last 4 digits of account number

       Add the dollar value              urentolasiwCalamn, on this page:Write that nu                                      23000.00


 Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                page 1 of
               Case 19-64152-sms                         Doc 1           Filed 09/06/19 Entered 09/06/19 12:53:08                                          Desc P
                                                                               Page 33 of 54
  Fill in this information to identify your case:


  Debtor 1           LAPORTCHlk                                 M.              WRIGHT
                     First Name                   Middle Name
                                                             •
  Debtor 2
  (Spouse, if filing) First Name                  Middle Name                   Last Name

  United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                                         1:1 Check if this is an
  Case number                                                                                                                                                amended filing
  (If known)


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory, contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Properly. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).



NEI              List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
       CO No. Go to Part 2.
       U Yes.
         o tp .Y.
       List                                                creditor     more tha one priority unP                           n, list tfle creditor separately Tor   oh claIm.   For
               :.
      iaph•tiaialloo                          claim It Is. If a claim 0, ,0        ity and ekiPtie                            list that claim here and show b        priority and
      ooriPriot* amounts As much as possible,  ,   list the claims in alphabetic order according                                    name. If you have more th.      two priority
                                  ',tootitto*!°!,1,Page of Part 1,1.f.frfOr#14' ne dedltot;:hald
      unsecured claims, fill out the                                                                                                                                art 3.
                                                                                                ,
       For an explanation of each type of claim, see 6,111,stilAction'ofor      formin theinstruci                 ooklet



2.1
                                                                     Last 4 digits of account number
        Priority Creditor's Name
                                                                     When was the debt incurred?
        Number            Street
                                                                     As of the date you file, the claim is: Check all that apply.
                                                                     O Contingent
        City                              State     ZIP Code
                                                                     •      Unliquidated
        Who incurred the debt? Check one.                            O Disputed
        CI Debtor 1 only
        O Debtor 2 only                                              Type of PRIORITY unsecured claim:
        O Debtor 1 and Debtor 2 only                                 U Domestic support obligations
        O At least one of the debtors and another
                                                                     O Taxes and certain other debts you owe the government
        U Check if this claim is for a community debt                O Claims for death or personal Injury while you were
                                                                       intoxicated
        Is the claim subject to offset?
        O No                                                         O Other. Specify
               Yes
2.2                                                                  Last 4 digits of account number                                 $
        Priority Creditor's Name
                                                                     When was the debt incurred?
        Number            Street
                                                                     As of the date you file, the claim is: Check all that apply.
                                                                     O Contingent
        City                              State     ZIP Code         •      Unliquidated
        Who incurred the debt? Check one.                            O Disputed
        O Debtor 1 only
                                                                     Type of PRIORITY unsecured claim:
        •      Debtor 2 only
                                                                     U Domestic support obligations
         O Debtor 1 and Debtor 2 only
                                                                     U Taxes and certain other debts you owe the government
        0      At least one of the debtors and another
                                                                         O Claims for death or personal injury while you were
        U Check if this claim is for a community debt                      intoxicated
        Is the claim subject to offset?                                  O Other. Specify
        U No
         0 Yes

 Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of
                   Case 19-64152-sms                         Doc 1           Filed 09/06/19 Entered 09/06/19 12:53:08                                           Desc P
                                                                M.
                                                                                   Page 34 of 54
                                                                              WRIGHT
    Debtor 1          LAPORTCHIA                                                                                     Case number (if known)
                         First Name       Middle Name          Last Name



FM                    List All of Your NONPRIORITY Unsecured Claims

     3. Do any creditors have nonpriority unsecured claims against you?
;
          1:1 No. You have nothing to report in this part'. Submit this form to the court with your other schedules.
                Yes
                                                   ,                                                                                                                    ,
          41*01(0f:Y..Otki(0.0.4$10,iiti,40*./54,re,4., ,.010101.00.11J*0.1000imk.      order of the creditor Who                    p                              nio'e than oñe L.
                                                                                       ln For eactfrilaiMliStad,';'ida             hat type of clam! It Is P0 tiot list t1a1ms already
          upduded in Part it more thah one credjto      - ki*0-400.000                   list the1ithat'eted1t                     you have mole Ihan thYeO hOflph0nty unsecured
           lalm fill out the Oontlnuatln Page of Pert ~



            CREDIT CENTRAL LLC & AFFILIATES                                                Last 4 digits of account number                                                   1053.00
            Nonpriority Creditors Name
                                                                                           When was the debt incurred?
            505 MAXEY RD G
            Number             Street
            HOUSTON                                          TX            77013
            City                                             State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                           U        Contingent
            Who incurred the debt? Check one.                                               •       Unliquidated
            Li Debtor 1 only                                                               Li Disputed
            Li Debtor 2 only
            LI Debtor 1 and Debtor 2 only                                                  Type of NONPRIORITY unsecured claim:
            0      At least one of the debtors and another                                  U       Student loans

            U Check if this claim is for a community debt                                   0       Obligations arising out of a separation agreement or divorce
                                                                                                    that you did not report as priority claims
            Is the claim subject to offset?                                                 U       Debts to pension or profit-sharing plans, and other similar debts
            LI No                                                                           U       Other. Specify
            LI Yes                                                   a


                                                                                            Last 4 digits of account number                                                  8019.00
    4.2   [ACCEPTANCE LOAN
            Nonpriority Creditor's Name                                                     When was the debt incurred?
            PO BOX 9189
            Number             Street
            MOBILE                                           AL             36691           As of the date you file, the claim is: Check all that apply.
            City                                             State         ZIP Code
                                                                                            U       Contingent

            Who incurred the debt? Check one.                                               •       Unliquidated
                                                                                            U Disputed
            O Debtor 1 only
            Li Debtor 2 only
                                                                                            Type of NONPRIORITY unsecured claim:
            Li Debtor 1 and Debtor 2 only
            O At least one of the debtors and another                                       U       Student loans
                                                                                            U  Obligations arising out of a separation agreement or divorce
            •      Check If this claim is for a community debt                                 that you did not report as priority claims

            Is the claim subject to offset?                                                 Li Debts to pension or profit-sharing plans, and other similar debts
                                                                                            U       Other. Specify
            U No
            U      Yes

    4.3
            CAPITAL ONE                                                                     Last 4 digits of account number                                                   2800.00
            Nonpriority Creditor's Name
                                                                                            When was the debt Incurred?
            PO BOX 30281
            Number             Street
             SALT LAKE CITY                                   UT            84130
                                                                                            As of the date you file, the claim is: Check all that apply.
            City                                             State         ZIP Code
                                                                                                •   Contingent
            Who incurred the debt? Check one.
                                                                                                •   Unliquidated
             U Debtor 1 only
                                                                                                U   Disputed
             U Debtor 2 only
             U Debtor 1 and Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             U     At least one of the debtors and another
                                                                                                U   Student loans
             Li Check if this claim is for a community debt                                     Li Obligations arising out of a separation agreement or divorce
                                                                                                   that you did not report as priority claims
             Is the claim subject to offset?
                                                                                                U   Debts to pension or profit-sharing plans, and other similar debts
             Li No                                                                              D Other. Specify
             LI Yes




    Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                     page     of
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                                                                        WRIGHT
Debtor 1           LAPORTCHIA                             M.                                                    Case number (if mown)
                       First Name       Middle Name     Last 'Name




MI                Your NONPRIORITY Unsecured Claims—Continuation Page




4.4                                                                                   Last 4 digits of account number
      FIRST PREMIER
      Nonpriodty Creditor's Name
                                                                                      When was the debt incurred?
      3820 N. LOUIS AVE
      Number                 Street
                                                                                      As of the date you file, the claim is: Check all that apply.
      SIOUX FALLS                                     SD              57107
      City                                            State          ZIP Code         O Contingent
                                                                                      •           Unliquidated
      Who incurred the debt? Check one.                                               O Disputed
      O Debtor 1 only
      O Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
      • Debtor 1 and Debtor 2 onl:                                                    D           Student loans
      O At least one of the debtors and another                                        •          Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                       •          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  O Other. Specify
      LI No
      0       Yes


4.5
                                                                                       Last 4 digits of account number                                                $     1000.001
      OKINUS
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?
      147 W RAILROAD ST S
      Number                 Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      PELHAM                                           GA             31179
      City                                            State          ZIP Code             O Contingent
                                                                                          •       Unliquidated
      Who incurred the debt? Check one.                                                   O Disputed
          O Debtor 1 only
          O Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
          O Debtor 1 and Debtor 2 only                                                     O Student loans
      U At least one of the debtors and another                                            O Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
          O Check if this claim is for a community debt
                                                                                           CI Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                      O Other. Specify
          O No
                 Yes
                                                               •


                                                                                           Last 4 digits of account number
          Nonpriority Creditor's Name
                                                                                           When was the debt incurred?

          Number              Street
                                                                                           As of the date you file, the claim is: Check all that apply.

          City                                         State          ZIP Code             1]      Contingent
                                                                                              O Unliquidated
          Who incurred the debt? Check one.                                                   •   Disputed
          O Debtor 1 only
          ▪      Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
          O Debtor 1 and Debtor 2 only                                                        LI Student loans
          O At least one of the debtors and another                                        LI    Obligations arising out of a separation agreement or divorce that
                                                                                                 you did not report as priority claims
          O Check if this claim is for a community debt
                                                                                              O Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                     •    Other. Specify
          O No
          0 Yes



Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                          page   of

                                                                                 •
            Case 19-64152-sms                     Doc 1          Filed 09/06/19 Entered 09/06/19 12:53:08                    Desc P
                                                                       Page 36 of 54
                                                                  WRIGHT
 Debtor 1      LAPORTCHIA                                                                     Case number (if known)
                 First Name    Middle Name          Last Name




 Part 4:       Add the Amounts for Each Type of Unsecured Claim


 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




  -            6a. Domestic support obligations                                   6a.                             0.00
I Total claims
 "9"1/2,1t I        6b. Taxes and certain other debts you owe the
                        government                                                6b.                             0.00

                   6c.Claims for death or personal injury while you were
                      intoxicated                                                 6c.                             0.00

                   6d.Other. Add all other priority unsecured claims.
                      Write that amount here.                                     6d. + $                         0.00


                   6e. Total. Add lines 6a through 6d'.                           6e.
                                                                                                                  0.00




                   6f. Student loans                                              6f.                             0.00
   Total claim
1, from Part       6g. Obligations arising out of a separation agreement
                       or divorce that you did not report as priority
                       claims                                                     6g.     $                       0.00
                   6h. Debts to pension or profit-sharing plans, and other
                       similar debts                                              6h.                             0.00

                   61. Other. Add all other nonpriority unsecured claims.
                       Write that amount here.                                    6i.   + $                13297.00


                   6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                           13297.00




                                                         •




  Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                              page   of
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 Fill in this information to identify your case:


 Debtor            LAPORTCHAI                       M.                WRIGHT
                    First Name                 Middle Name                Last Name

 Debtor 2
 (Spouse If filing) First Name                 Middle Name                Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)                                                                                                                               1:1 Check if this is an
                                                                                                                                               amended filing


                                                                      •
Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
        Gil   No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



                           ,pariy with whom you avelhe.cOntraOt,Or lease                          State what the contract or lease is foi


2.11
        Name

        Number          Street

        City                               State     ZIP Code
                                                                        &
2.2
        Name

        Number          Street

                                           State      ZIP Code
12.3!
        Name

        Number          Street

      city                                 State      ZIP Code
h—r m
12.41
        Name


        Number          Street

        City                               State      ZIP Code

12.51
        Name

        Number          Street
                                                                        •
        City                               State      ZIP Code


Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of
            Case 19-64152-sms                             Doc 1               Filed 09/06/19 Entered 09/06/19 12:53:08                                      Desc P
                                                                                    Page 38 of 54

 Fill in this information to identify your case:

 Debtor 1          LAPORTCH IA                                M.                       WRIGHT
                    First Name                      Middle Name                      Last Name •

 Debtor 2
 (Spouse, if filing) First Name                     Middle Name                      Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 (If known)
                                                                                                                                                        0    Check if this is an
                                                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                             12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      21 No
    O Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
      O Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            O No
            O Yes. In which community state or territory did you live?                                          Fill in the name and current address of that person.



                  Name of your spouse, former spouse, or legal equivalent



                  Number             Street                                      •
                                                                  •

                  City                                            State                            ZIP Code


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 1060), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule E/F, or Schedule G to fill out Column 2.

        Column /: Your codebtor                                                                                       Column 2: The 'creditor, to Whom you ewe the debt
                                                                                                                                 ,              ,    , .
                                                                                                                        heck•all:achedUlee;that.aajiiy...


                                                                                                                       O Schedule D, line
          Name
                                                                                                                       O Schedule E/F, line
          Number            Street                                                                                     O Schedule G, line

                                                                      State                          ZIP Code


                                                                                                                       O Schedule D, line
          Name
                                                                                                                       O Schedule E/F, line
          Number            Street                                                                                     O Schedule G, line

          City                                                        State                          ZIP Code


                                                                                                                       O Schedule D, line
          Name                                                                   •
                                                                                                                       O Schedule E/F, line
          Number            Street                                                                                     O Schedule G, line

                                                                      State                          ZIP Code




 Official Form 106H                                                            Schedule H: Your Codebtors                                                      page 1 of
           Case 19-64152-sms                    Doc 1         Filed 09/06/19 Entered 09/06/19 12:53:08                                          Desc P
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 Fill in this information to identify your case:


 Debtor 1          LAPORTCHIA                   M.                           WRIGHT
                    First Name             Middle Name                      Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name.


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                Check if this is:
  (if known)
                                                                                                            U An amended filing
                                                                                                                  A supplement showing postpetition chapter 13
                                                                                                                  income as of the following date:

Official Form 1061                                                                                                MM / DD / YYYY

Schedule I: Your Income                                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together (Debtorl and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


I=1                Describe Employment


11. Fill in your employment
    information.                                                                        0                                         btor 2 or riOn41111ng spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                     LI Employed                                  LI    Employed
    employers.                                                                  El Not employed                             0     Not employed
                                                                        •
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
    Occupation may include student
    or homemaker, if it applies.
                                         Employer's name


                                         Employer's address
                                                                               Number Street                               Number      Street




                                                                               City            State   ZIP Code            City                    State ZIP Code

                                         How long employed there?



                    Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                                           For Debtor 2 or
                                                                                                                           norl-titiOslepOus
  2. List monthly gross wages, salary, and coenmissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.                  2.              0.00
  3. Estimate and list monthly overtime pay.                                                      3. + $          0.00

  4. Calculate gross income. Add line 2 + line 3.                                                 4.              0.00



Official Form 1061                                                  Schedule I: Your Income                                                              page 1
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                                                                   Page 40 of 54
Debtor 1       LAPORTCHIA                   M.                     WRIGHT                   Case number (if known)
                 First Name   Middle Name        Last Name




                                                                                                  btor I             ForDebOir2 or,
                                                                                                                      01)4 Ono littOuSe

   Copy line 4 here                                                                4 4.     $         0.00

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                               5a.    $         0.00             $
     5b. Mandatory contributions for retirement plans                                5b.    $         0.00             $
     5c. Voluntary contributions for retirement plans                                5c.    $          0.00            $
     5d. Required repayments of retirement fund loans                                5d.    $          0.00            $
     5e. Insurance                                                                   5e.    $          0.00            $
     5f. Domestic support obligations                                                5f.    $          0.00            $
     5g. Union dues                                                                  5g.    $          0.00            $
     5h. Other deductions. Specify:                                                  5h. +$            0.00          + $

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.      6.     $          0.00            $

 7. Calculate total monthly take-home pay. Sabtract line 6 from line 4.              7.     $          0.00


: 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                           0.00
           monthly net income.                                                       8a.
     8b. Interest and dividends                                                      8b.               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                       0.00
           settlement, and property settlement.                                      Sc.    $                          $

     8d. Unemployment compensation                                                   8d.    $          0.00            $
     8e. Social Security                                                             8e.    $      933.00              $
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify:                                                                   8f.                0.00

     8g. Pension or retirement income                                                8g.               0.00

     8h. Other monthly Income. Specify: VA COMPENSATION                              8h.   +$    3405.50

I 9. Add all other income. Add lines 8a + 8b +         + 8d + Be + 8f +8g + 8h.      9.     $    4338.40

110.Calculate monthly income. Add line 7 + line 9.                                          $    4338.40                                            4338.40
I   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.       10.

111.State all other regular contributions to the expenses that you list in Schedule J
    Include contributions from an unmarried partnar, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                          11.   $            0.00 !

!12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies               12.
                                                                                                                                                    4338.40
                                                                                                                                            Combined
                                                                                                                                            monthly Income
  13. Do you expect an increase or decrease within the year after you file this form?
           No.
     C:1 Yes. Explain:


Official Form 1061                                               Schedule I: Your Income                                                        page 2
                Case 19-64152-sms                 Doc 1          Filed 09/06/19 Entered 09/06/19 12:53:08                                   Desc P
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  Fill in this information to identify your case:

  Debtor 1         LAPORTCHIA                      M.                 WRIGHT
                     First Name             Middle Name                  Last Name                      Check if this is:
  Debtor 2                                                                                              0   An amended filing
  (Spouse, if filing) First Name            Middle Name                  Last Name
                                                                                                        0   A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: Northern District of Georgia                                      expenses as of the following date:

  Case number                                                                                               MM / DD/ YYYY
   (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                               12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 Information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (If known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a Joint case?

    21 No. Go to line 2.
    0  Yes. Does Debtor 2 live in a separate household?

                U No
                O Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                 0    No                                   Dependent's relationship to              Dependent's      Does dependent live
   Do not list Debtor 1 and                     Yes. Fill out this information for   Debtor 1 or Debtor 2                     age              with you?
   Debtor 2.                                    each dependent
                                                                                     DAUGHTER                                                  O No
                                                                                                                              16
   Do not state the dependents'
   names.                                                                                                                                      a Yes
                                                                                                                                               U No
                                                                                                                                               O Yes
                                                                                                                                               O No
                                                                                                                                               O Yes
                                                                                                                                               U No
                                                                                                                                               O Yes

                                                                                                                                               O No
                                                                                                                                               O Yes

13. Do your expenses include
                                           IA   No
1   expenses of people other than
1   yourself and your dependents?          0    Yes



On               Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                             Your exPe,nses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 2100.00
     any rent for the ground or lot.                       A                                                            4.

     If not included in line 4:
        4a.   Real estate taxes                                                                                         4a.        $                  0.00
        4b.   Property, homeowner's, or renter's insurance                                                              4b.        $                  0.00
        4c. Home maintenance, repair, and upkeep expenses                                                               4c.        $                  0.00
        4d.   Homeowner's association or condominium dues                                                               4d.        $                  0.00

Official Form 106J                                             Schedule J: Your Expenses                                                              page 1
               Case 19-64152-sms                  Doc 1         Filed 09/06/19 Entered 09/06/19 12:53:08                       Desc P
                                                                      Page 42 of 54

    Debtor 1        LAPORTCHIA                   M.                WRIGHT                  Case number (If known)
                     First Name    Middle Name     Last Name




                                                                                                                                    0.00
; 5. Additional mortgage payments for your residence, such as home equity loans                                     5.

     6. Utilities:
        6a. Electricity, heat, natural gas                                                                          6a.           200.00
        6b. Water, sewer, garbage collection                                                                        6b.           100.00
        6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.           200.00
        6d. Other. Specify:                                                                                         6d.             0.00

     7. Food and housekeeping supplies                                                                              7.            200.00

     8. Childcare and children's education costs                                                                    8.            150.00
     9. Clothing, laundry, and dry cleaning                                                                         9.            100.00
    10. Personal care products ar d services                                                                        10.           100.00
        Medical and dental expenses                                                                                 11.             0.00
    12. Transportation. Include gas, maintenance, bus or train fare.                                                              200.00
        Do not include car payments.                                                                                12.

    13. Entertainment, clubs, recreation, newspapers, magazines, and books                                          13.             0.00
,

    14. Charitable contributions and religious donations                                                            14.             0.00

    15. Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                         15a.          175.00
        15b. Health insurance                                                                                       15b.            0.00
        15c. Vehicle insurance                                                                                      15c.          163.40
        15d. Other insurance. Specify:                                                                              15d.            0.00

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                    16.
                                                                                                                                    0.00
         Specify:

    17. Installment or lease payments:

         17a. Car payments for Vehicle 1                                                                            17a.          400.00

         17b. Car payments for Vehicle 2                                                                            17b.            0.00

         17c. Other. Specify:     FURNITURE PAYMENT                                                                 17c.          250.00

         17d. Other. Specify:                                                                                       17d.            0.00

    18. Your payments of alimony, maintenance, and support that you did not report as deducted from
        your pay on line 5, Schedule I, Your Income (Official Form 1061).                                            18.   $        0.00

    19. Other payments you make to support others who do not live with you.
        Specify:                                                                                                     19.   $        0.00

    20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule!: Your Income.

         20a. Mortgages on other property                                                                           20a.   $        0.00

         20b. Real estate taxes                                                                                     20b.            0.00
         20c. Property, homeowner's, or renter's insurance                                                          20c.            0.00
         20d. Maintenance, repair, and upkeep expenses                                                              20d.            0.00
         20e. Homeowner's association or condominium dues                                                           20e.            0.00


    Official Form 106J                                         Schedule J: Your Expenses                                            page 2
           Case 19-64152-sms                   Doc 1         Filed 09/06/19 Entered 09/06/19 12:53:08                            Desc P
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Debtor 1      LAPORTCHIA                      M.                WRIGHT                       Case number (If known)
               First Name    Middle Name        Lest Name




21. Other. Specify:                                                                                                   21.   +$        0.00


22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                                  22a.             4338.40

    22b. Copy line 22 (monthly (xpenses for Debtor 2), if any, from Official Form 106J-2                          22b.                0.00
    22c. Add line 22a and 22b. The result is your monthly expenses.                                               22c.             4338.40



23. Calculate your monthly net income.
                                                                                                                                   4338.40
   23a.    Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

   23b.    Copy your monthly expenses from line 22c above.                                                        23b.       $     4338.40

   23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                                      0.00
           The result is your monthly net income.                                                                 23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

   For example, do you expect to finish paying for your car loan within the year or do you expect your
   mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
   U Yes.        Explain here:




Official Form 106J                                          Schedule J: Your Expenses                                                 page 3
              Case 19-64152-sms                     Doc 1       Filed 09/06/19 Entered 09/06/19 12:53:08                         Desc P
                                                                      Page 44 of 54

Fill in this information to identify your case:

Debtor            LAPORTCHIA                     M.                    WRIGHT
                   First Name              Middle Name                 Last Name

Debtor 2
(Spouse, if filing) First Name             Middle Name                 Lest Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number                                                                                                                          CI Cheek if this is an
 (if known)                                                                                                                                amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  •   creditors have claims secured by your property, or
  •   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property>thati                            What do you intend to                           you    ' the propert
                                                                                                                               Did                     y
                                                                                   secures a debt?                                     Cialin
                                                                                                                               as exempt on Schedule C? ;

          Creditor's                                                               10 Surrender the property.                        No
          name:            BRIDGECREST
                                                                                   0 Retain the property and redeem it.        0 Yes
          Description of 2013 CADILAC XIS
          property
                                                                                   0 Retain the property and enter into a
          securing debt:                                                              Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:


          Creditor's                                                               0 Surrender the property.                   0 No
          name:,
                                                                                   CI Retain the property and redeem it.       0 Yes
          Description of
                                                                                   El Retain the property and enter into a
          property
          securing debt:                                                              Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:

          Creditor's                                                               0 Surrender the property.                         No
          name:
                                                                                   0 Retain the property and redeem it.        0 Yes
          Description of
                                                                                      Retain the property and enter into a
          property
          securing debt:                                                              Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:
                                                                          •

          Creditor's                                                               0 Surrender the property.                   LI No
          name:
                                                                                   0 Retain the property and redeem it.              Yes
          Description of
          property
                                                                                   0 Retain the property and enter into a
          securing debt:                                                              Reaffirmation Agreement.
                                                                                   0 Retain the property and [explain]:


   Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                 page 1
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                                                                        Page 45 of 54

Debtor 1       LAPORTCHIA                            M.               WRIGHT                       Case number (If known)
               First Name          Middle Name        Last Name




  Part 2:      List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property looses                                                                      Will the lease    timed?

      Lessor's name:                                                                                                        0 No
                                                                                                                            0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                          No
                                                                                                                            0 Yes
      Description of leased
      property:


                                                                      •
      Lessor's name:                                                                                                          No

      Description of leased                                                                                                   Yes
      property:


      Lessor's name:                                                                                                        0 No
                                                                                                                            0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                        LI No
                                                                                                                            0 Yes
      Description of leased
      property:


      Lessor's name:                                                                                                        U No
                                                                                                                            CI Yes
      Description of leased
      property:


      Lessor's name:                                                                                                          No
                                                                                                                              Yes
       Description of leased                              •
       property:




  Part 3:       Sign Below



     Under p        Ity of 'ado            eclare that I have indicated my intention about any property of my estate that secures a debt and any
     persona        operty that             'ect to an unexpired lease.




       SI                                                                 Signature of Debtor 2


      Date                                                                Date
             MM! DD         /   YYYY                                             MM! DD/    YYYY




Official Form 108                                   Statement of Intention for Individuals Filing Under Chapter 7                            page 2
            Case 19-64152-sms                        Doc 1       Filed 09/06/19 Entered 09/06/19 12:53:08                                 Desc P
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 Fill in this information to identify your case:


 Debtor 1          LAPORTCHIA                          M..            WRIGHT
                     First Name                Middle Name '            Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name              Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

  Case number                                                                                                                            U Check if this is an
                     (If known)                                                                                                            amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


=11            Summarize Your Assets


                                                                                                                                       our assets
                                                                                                                                       alue of what you o
1. Schedule NB: Property (Official Form 106A/B)
                                                                                                                                                        0.00
    la. Copy line 55, Total real estate, from Schedule A/B


    lb. Copy line 62, Total personal property, from Schedule A/B                                                                                    4000.00

    lc. Copy line 63, Total of all property on Schedule A/B                                                                                         4000.00


               Summarize Your Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Officia Form 106D)
    2a. Copy the       total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    38. Copy the       total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F



                                                                                                              Your total liabilities



                Summarize Your Income and Expenses


 4. Schedule         Your Income (Official Form 1061)
                                                                                                                                                    4338.40
    Copy your combined monthly income from line 12 of Schedule I

 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J
                                                                                                                                                    4338.40




Official Form 106Sum                           Summary of Your Assets and Liabilities and Certain Statistical Information                      page 1 of 2
             Case 19-64152-sms                  Doc 1         Filed 09/06/19 Entered 09/06/19 12:53:08                                Desc P
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  Debtor 1     LAPORTCHIA                      M.                WRIGHT                         Case number (If known)
                First Name    Middle Name         Last Name




               Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

      U No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
      El Yes
 1-
  7. What kind of debt do you have?

      El Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
         family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

      U Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                     4338.40




   5. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:




      9a.Domestic support obligations (Copy line 6a.)
                                                                                                                         0.00


      9b.Taxes and certain other debts you owe the government. (Copy line 6b.)                                           0.00


      9c.Claims for death or personal injury while ypu were intoxicated. (Copy line 6c.)
                                                                                                                         0.00


      9i. Student loans. (Copy line 6f.)                                                                                 0.00


      9j. Obligations arising out of a separation agreement or divorce that you did not report as                        0.00
          priority claims. (Copy line 6g.)

      9k. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                             0.00


      9l. Total. Add lines 9a through 9f.                                                                                0.00




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical information                                           page 2 of 2
               Case 19-64152-sms                        Doc 1    Filed 09/06/19 Entered 09/06/19 12:53:08                                              Desc P
                                                                       Page 48 of 54

Fill in this information to identify your case:


Debtor 1          LAPORTCHIA                          M.         WRIGHT
                   First Name                 Middle Name              Last Name

Debtor 2
(Spouse, If filing) First Name                Middle Name              Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
(If known)
                                                                                                                                                      U   Check if this is an
                                                                                                                                                          amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                     Sign Below



       Did you pay or agree to pey someone who is NOT an attorney to help you fill out bankruptcy forms?

             No
        0    Yes. Name of person                                                                . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules flied with this declaration and
        that they att true and correct.




          Sign                                                             Signature of Debtor 2


         Date                        dzi 01                                Date
                 MM /    DD      /   YYYY                                          MM / DD /   YYYY




   Official Form 106Dec                                     Declaration About an Individual Debtor's Schedules
           Case 19-64152-sms                    Doc 1         Filed 09/06/19 Entered 09/06/19 12:53:08                                     Desc P
                                                                    Page 49 of 54
 Fill in this information to identify your case:                                                       Check one box only as directed in this form and in
                                                                                                       Form 122A-1Supp:
 Debtor 1         LAPORTCHIA                   M.                  WRIGHT
                     First Name            Middle Name                  Last Name
                                                                                                       21 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name            Middle Name,                 Last Name                      O 2. The calculation to determine if a presumption of
                                                                                                            abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northern District of Georgia                                       Means Test Calculation (Official Form 122A-2).
 Case number                                                                                           O 3. The Means Test does not apply now because of
 (If known)                                                                                                 qualified military service but it could apply later.


                                                                                                       U Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

                 Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
      •    Not married. Fill out Column A, lines 2-11.
      O Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

      O Married and your spouse is NOT filing with you. Yo4 and your spouse are:

           1p     Living in the same household an are not legally separated. Fill out both Columns A and B, lines 2-11.

           0     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                 under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                 spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
                                                                                                                                       ,
      Fill In the average monthly Income that Y:41,(.r,90961#0,131111.sPurc!s;cierlYFO1190,P9                          •hs before you file this
      bankru
      ,         ptcy •       - .        2ti 01(f                                   September             qlopn p         would be „rctt:1 through
                                                                '•
      August                      of        niOnthl9tneciMe:;i0Od                                             lt64n6     and divide      total
                                                                                                                                         .     by .
      Fill In the result Do not include any income amount more than pnoeFor,oxprpotOtboth                              same rental property,; bp; th
       icome from that property In one column only. If you have nothing to report for 6h)', tine; *rite' tcl ih.fite`SOa*:
                                                                                                       Column A             -Colisinii
                                                                                                       Debtor I            'Debtor 4 or,
                                                                                                                                    lowspouse,
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                            0.00       $

 3. Alimony and maintenance payments. Do not include payments from a spouse if                                    0.00
      Column B is filled in.
 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.
                                                                                                                  0.00

 5. Net income from operating a business, profession,
                                                                  !Debtor
    or farm
      Gross receipts (before all aductions)
      Ordinary and necessary operating expenses.
                                                                                              Copy
      Net monthly income from a business, profession, or farm                 0.00            here'.    $
                                                                                                                  0.00        it

 6. Net income from rental and other real property                  Debtor I         Debtor
      Gross receipts (before all deductions)
      Ordinary and necessary operating expenses                    —$                —$
                                                                                              Copy      „,
      Net monthly income from rental or other real property             $    0.00     $       here.               0.00        $

 7. Interest, dividends, and royalties                                                                            0.00       $



Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                      page 1
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Debtor 1        LAPORTCHIA                      M.                 WRIGHT                        Case number (if known)
                First Name      Middle Name        Last Name



                                                                                                        0.1,01P,;!'.,,..          iddliirr0.
                                                                                                                                   .,,..„,,,,„„,„.„:„,„,,,,,,.„„,,,:..
                                                                                                   .illiibtori.. '                tlebtoa'..:b.V.
                                                                                                                                  40.(64(fin9(0040:
 8. Unemployment compensation                                                                                              0.00
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here:
       For you
       For your spouse

 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                                 0.00
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.
                                                                     •
      VA COMPENSATION                                                                                  $          3405.40                $
      SSDI                                                                                             $             933.00              $
      Total amounts from separate pages, if any.                                                      +$                   0.00   +$

 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                 $         4338.40                                                      $     4338.40
                                                                                                                                                                               Total current
                                                                                                                                                                               monthly Income

 Part 2:       Determine Whether the Means Test Applies to You

 12.Calculate your current monthly income for the year. Follow these steps:
     12a. Copy your total current monthly income from line 11.                                                                Copy line 11 here4                           $       4338.40
              Multiply by 12 (the number of months in a year).                                                                                                             X   12
     12b. The result is your annual income for this part of the form.                                                                                             12b.     $ 52,060.80

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                          IpEORGIA

     Fill in the number of people in your household.               [2

     Fill in the median family income for your state and size of household.                                                                                       13.      $ 63,303.00
     To find a list of applicable riedian income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk's office.
 14. How do the lines compare?

     148.       Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                Go to Part 3.

     14b. 0     Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                Go to Part 3 and fill out Form 122A-2.

 Part 3:        Sign Belo

               By signing jefe, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.




                                                                                               Signature of Debtor 2

                                                                                               Date
                             MM/DD    / YYYY                                                          MM/DD / YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.


Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                                                  page 2
            Case 19-64152-sms                        Doc 1      Filed 09/06/19 Entered 09/06/19 12:53:08                                                             Desc P
                                                                      Page 51 of 54
  Fill in this information to identify your case:


  Debtor 1         LAPORTCHIA                       M.            WRIGHT
                     First Name                 Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name                Middle Name              Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

  Case number
  (If known)

                                                                                                             0      Check if this is an amended filing


Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                                                                    12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).



Part 1:        Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debt4 are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
   personal, family, or household purpose." Makebsure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

   •     No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
             submit this supplement with the signed Form 122A-1.
   I21 Yes. Go to Part 2.



till           Determine Whether Military Service Provisions Apply to You


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

         No. Go to line 3.
    O Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
           10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

                0 No. Go to line 3.
                0 Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                             Then submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
    I21 No. Complete Form 122A-1. Do not submit this supplement.
    O Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
         O No. Complete Form 122A-1. Do not submit this supplement.
         O Yes. Check any one of the following categories that applies:

               U I was called to active duty after September 11, 2001, for at least                             - eif one Crthw,..Aat,099
                                                                                                                R                                           Ic,.:,'th:(*.klf4,-gota.
                 90 days and remain on active duty.                                                              ,1g0Crihel,41),'0,0; 0 1                         :6:-.: : ii-;
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                                                                                               heck box '                      'Means t6ortioa not appikvow,, and
                    I was called to active duty after September 11, 2001, for at least
                                                                                                  'if% :•                -iin'iSakinit.thia4Opfetnentitfi,....thejssigned
                    90 days and was released from active duty on
                                                                                              Form 122A-1. - .:•ife!•::niii-f:6-               -- 44,400,,Ist* i-t....:.#*!te.0.,9fir '
                    which is fewer than 540 days before I file this bankruptcy case.
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                                                                                                     : -iki
                                                                                                         :' i??:i,'rl 177:4
                                                                                                                          t'::             . '';: : -                                 i •:!:„,
                                                                                                                                                                      . ;.::l;,.,, duty       :, ,.,, _
               U I am performing a homeland defense activity for at least 90 days.             xoh            . ., , ,f:..f..o : P. ;,!::"..!i        ,                  .        .., ..        ,:.i,,,, ,,:1
                                                                                                 iiiii-4iiiiitiiiteili*II67,4*0#0p,-       .             0#0,:,- 0,,-0y-,.,:r .io      ...:...,
               O I performed a homeland defense activity for at least 90 days,                   iir-'4-iiii,:iikEiriiii'0:',4*,u,* .0.,-' ,.:707(0(2)e0(ll),
                 ending on                      , which is fewer than 540 days                                                                                                  ,..;:„:,:,,,.,
                                                                                                                              period ends                   ' yotjr6iiiti:is-:*6060;:i
                 before I file this bankruptcy case.                                           l'illi'A**1                      '"" 5.
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                                                                                                                                                                  later.
                                                                                                                                                           ,,,....,t,„:,„„;


 Official Form 122A-1Supp                    Statement of Exemption from Presumption of Abuse Under §707(b)(2)
Case 19-64152-sms   Doc 1   Filed 09/06/19 Entered 09/06/19 12:53:08   Desc P
                                  Page 52 of 54


  BRIDGECREST
  PO BOX 29018
  PHOENIX, AZ 85038

  CREDIT CENTRAL LLC & AFF
  505 MAXEY RD G
  HOUSTON, TX 77013

  ACCEPTANCE LOAN COMPANY
  PO BOX 9189
  MOBILE, AL 36691

  CAPITAL ONE BANK USA NA
  PO BOX 30281
  SALT LAKE CITY, UT 84130

  FIRST PREMIER BANK
  3820 N LOUISE AVE
  SIOUX FALLS, SD 57107

  OKINUS
  147 W RAILSTOAD ST S
  PELHAM, GA 31779
 Case 19-64152-sms     Doc 1    Filed 09/06/19 Entered 09/06/19 12:53:08   Desc P
                                      Page 53 of 54

U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01258301 (0J) OF 09/06/2019


ITEM   CODE    CASE            QUANTITY                      AMOUNT   BY

   1     7IN   19-64152              1                       $ 0.00   Currency
               Judge - unknown at time of receipt
               Debtor - LAPORTCHIA M. WRIGHT


TOTAL:                                                       $ 0.00


FROM: LaPortchia M. Wright
      28209 Plantation Dr NE
      Atlanta, GA 30324




                                    Page 1 of 1
              Case 19-64152-sms                 Doc 1         Filed 09/06/19 Entered 09/06/19 12:53:08                                Desc P
                                                                    Page 54 of 54
   Case Number: 19-64152                                                 Name: Wright                                                    Chapter: 7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

El Individual - Series 100 Forms                                                              El Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                           Petition Deficiencies:
 El Complete List of Creditors (names and addresses of all creditors)                          El Last 4 digits of SSN
 CI Pro Se Affidavit (due within 7 days, signature must be notarized,                          CI Address CI County
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                          CI Type of Debtor
 El Signed Statement of SSN (due within 7 days)                                                CI Chapter
                                                                                               CI Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                        CI Statistical Estimates
   El Statement of Financial Affairs                                                           CI Venue
   CI Schedules: A/B C D El F GHIJ El J-2 (d(erent addressfor Debtor 2)                        CI Attorney Bar Number
   CI Summary of Assets and Liabilities
   I=1 Declaration About Debtor(s) Schedules
                                                                                                                     Case filed via:
   ID Attorney Disclosure of Compensation
                                                                                                   N Intake Counter by:
   El Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                                       El Attorney
   CI Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                                       El Debtor - verified ID
   CI Chapter 13 Current Monthly Income
                                                                                                       El Other - copy of ID: (404) 734-3150
   El Chapter 7 Current Monthly Income
   CI Chapter 11 Current Monthly Income                                                            CI Mailed by:
   El Certificate of Credit Counseling (Individuals only)                                              CI Attorney
   CI Pay Advices (Individuals only) (2 Months)                                                        CI Debtor
   CI Chapter 13 Plan, complete with signatures (local form)                                           CI Other:
   CI Corporate Resolution (Business Ch. 7 & 11)
                                                                                                              History of Case Association
   Ch.11 Business
   CI 20 Largest Unsecured Creditors
                                                                                                   Prior cases within 2 years: 14-60154
   CI List of Equity Security Holders
   CI Small Business - Balance Sheet
   1:1 Small Business - Statement of Operations                                                    Signatur
   CI Small Business - Cash Flow Statement                                                                              Ai/
   El Small Business - Federal Tax Returns                                                         Acknowrr         ent o r         of check list

   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   CI Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.gov/services-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
         Paid $ 0.00 111 2g-Order Granting      0 3g-Order Granting 10-day finitial payment of $_____ due within 10 days)
         LI 2d-Order Denying with filing fee of $_____ due within 10 days                   E IFP filed (Ch.7 Individuals Only)
         I=1 No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.

                  You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only) to the address below.
                           All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                     **Failure to Comply may result in the dismissal of your case.**
                                                        UNITED STATES BANKRUPTCY COURT
                                                          75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000
 Intake Clerk: 0. Jones, Ill                      Date:    9/6/19                    Case Opener:                                          Date:
